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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES—GENERAL

   Case No.     CV 22-87-DMG (MAAx)                                      Date    August 2, 2022

   Title Eric Cleveland v. Menveg Collier Menveg, LLC                                   Page    1 of 1


   Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                 KANE TIEN                                               NOT REPORTED
                 Deputy Clerk                                             Court Reporter

      Attorneys Present for Plaintiff(s)                        Attorneys Present for Defendant(s)
               None Present                                               None Present

  Proceedings: IN CHAMBERS—ORDER RE DEFENDANT’S MOTION FOR DEFAULT
               JUDGMENT [40]

          On July 26, 2022, Defendant Menveg Collier Menveg, LLC filed what it purported to be a
  motion for default judgment against itself. [Doc. # 40.] Parties cannot move for default judgment
  against themselves. See Fed. R. Civ. P. 55. If default is what Defendant seeks, all it need do is
  nothing. Plaintiff will be obligated to seek entry of default and move for a default judgment in due
  course. And if it is true that all ADA violations have been remedied, the Court will not look
  favorably on Plaintiff’s attempt to seek attorneys’ fees on any work performed after today that
  does not involve the facilitation of the resolution of this action.

           Accordingly, the motion is DENIED, and the August 16, 2022 hearing is VACATED.


  IT IS SO ORDERED.




   CV-90                             CIVIL MINUTES—GENERAL                   Initials of Deputy Clerk KT
